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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG = MDL No. 2179
“DEEPWATER HORIZON” in the *
GULF OF MEXICO, on * SECTION J
APRIL 20, 2010 -

= JUDGE BARBIER
THIS DOCUMENT RELATES: . MAG. JUDGE SHUSHAN

IN RE: TRITON ASSET LEASING GmbH *
Case No. 2:10-ev-02771-C.JB-SS *

We RR Re A RA A ee OA ROW me ae eR Oe
ORDER

Considering the Motion for Acceptance of Limitation Short Form Joinders Filed
Beyond the April, 20, 2011 Deadline:

It is ORDERED that the late filed Short Form Joinders filed by Movants,
identified as various claimants in “Exhibit A”. in the action 2:10-cv-08888-CJB-SS are
hereby considered to be timely filed claims in the Transocean Limitation (Civil Action
No. 10-2771). as well as joinder in the Bundle B1 and/or B3 Amended Master
Complaints, in accordance with Pre-Trial Orders Nos. 24 and 25.

New Orleans, Louisiana this day of |. 2012,

~ United States District Judge
